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                             UNITED STATES DISTRICT COURT                                      . BRUTO    N
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                                                                                             IS T R IC T COURT
             NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION                      CLERK, U.S

     TAREK FARAG
                                Plaintiff,
                                   v.
     Joseph Biden, in his Official Capacity as President of
     the United States; Alejandro Mayorkas, in his
     Official Capacity as US Secretary of Homeland
     Security; Merrick Garland , in his Official Capacity
                                                                      Civil Case No
     as US AG; Michael Regan, in his Official Capacity
                                                                       1:24-cv-02728
     as EPA Administrator; Kwame Raoul, in his Official                Judge Jeremy C. Daniel
                                                                       Magistrate Judge Jeannice W. Appenteng
     Capacity as IL Attorney General; J.B. Pritzker, in his            RANDOM/ CAT. 1
     Official Capacity as IL Governor; Dick Durbin, in his

     Official Capacity as IL Senator; Tammy                           Judge:

     Duckworth, in her Official Capacity as IL Senator;
     Sean Casten, in his Official Capacity as IL
                                                                      Magistrate Judge:
     Congressman; The United States of America;
     The following Defendants are Media Companies:
     MSNBC; CNN; CBS; CNBC; NPR;
     Washington Post; NY Times; Facebook;
     and Other Unknown Defendants,
                              Defendants.


           COMPLAINT FOR DECLARATORY, INJUNCTIVE, AND OTHER RELIEF

     Plaintiff Tarek Farag (hereinafter Farag) states the following under oath:

                                        JURISDICTION AND VENUE

     1- This Court has Federal Jurisdiction under 28 U.S.C. § 1331, and the Administrative


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Procedure Act (“APA”). Venue is proper in this District pursuant to 28 U.S.C. § 139. The Court

is authorized to award the requested declaratory, injunctive, and other relief under 28 U.S.C. §§

2201-2202, 5 U.S.C. § 706, 18 U.S.C. § 2381, 18 U.S.C. § 1001, 18 U.S.C. § 371, and the

Immigration and Nationality Act (“INA”).

                                       INTRODUCTION

2- Farag is a patriotic American citizen, emigrated with his family from Egypt, escaping a tyrant
corrupt system that fully controls the media, prosecutes and eliminates any opposition, and its

president has the power to arrest and imprison any person with or without a fake trial. This

tyrannical system has elected officials that their jobs are to praise and protect the wrongdoings of

the government officials, and always hold the people accountable. Its constitution mandates

discrimination and the president can manipulate and change it according to his whims.

3-   Farag believed that the USA is the greatest nation because of its Constitution; not its

people (people are the same everywhere), nor its resources. In Egypt, if a train accident happens

killing 200 people, no official is accountable (So what, 200 out of 80 million). In contrast, when

Farag first came to the USA, if only one person is harmed in a foreign country, every citizen will

consider himself to be harmed. The government and the army will be ready to mobilize their full

power, with the potential of losing many more brave men, to protect this single American.

4- It was never in Farag’s worst nightmares that he will see the president of the USA, the
defendant Joe Biden (hereinafter Biden), breaking his Oath of Office, committing treason,

breaking our laws and constitution, illegally bringing into the USA millions of criminals (anyone

who breaks our laws is a criminal and an enemy of the state) and giving them benefits more than

the hard-working Americans. Biden deceptively called those enemies newcomers, asylum

seekers, etc. Worse than this worst nightmare, is that a huge number of our officials (elected or



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appointed) were complicit and conspired with him, and supported and protected him! They

went further in their treason, not only by fighting the efforts of the state of Texas to stop the

invasion of the country by those enemies, but also, by flying about 320,000 enemies illegally

directly to our cities. Further, after many women were raped/killed by those criminals, Biden

didn’t hold himself or any member of his administration accountable (So What). However, some

were blaming the victims, because they should have avoided being at that place at that time (they

wanted women to be with guardians, as in Islamic countries). It is disturbing that blaming the

victim became a trend to an abhorrent degree that in Illinois, they are suing the car manufacturers

instead of the thieves for car thefts, accusing them of not providing adequate anti-theft means!

They will soon sue all the homeowners for not installing adequate anti theft means. These things

TERRIFIED Farag, and assured him that he has no safety for his life or property. It

proved to him that Biden, his government, and those officials are destroying America and

they are its REAL ENEMIES. Therefore, Farag is assuring everyone that he is not suicidal,

and will file a request in the Police Department to protect his life and property,

5- Once upon a time, Egypt’s tyrant traitor president Elsadat, issued a law banning the sales
of fresh beef and meat 3 days in every week for many years. Once upon a time, Biden conspired

with many officials, lied to the people that fossil fuel is causing dangerous global warming,

declared war against it, and took destructive actions to ban its use.

6- Farag examined the declarations of the former president Barak Housine Obama that burning
fossil fuel is causing dangerous global warming that will cause sea levels to rise drowning huge

areas of land under water. Farag proved their falsity beyond any doubt to be a Hoax.

7- Obama opened new gates for many to jump on the Hoax, promote it, gain power, and make
huge financial gains. The worst part was, and is, the promotion of this Hoax on an international



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level by NASA and the United Nations’ Intergovernmental Panel on Climate Change (IPCC).

8- Farag completed his scientific studies, analysis, and calculations using mainly the data
contained in the technical reports generated by IPCC and NASA, which proved beyond any

doubt that the Hoax is a hoax, and published his findings in a book around May 2022.

9- The data on page 935 of IPCC’s “Earth’s Energy Budget, Climate Feedbacks and Climate
Sensitivity” reveals that increasing greenhouse gases will reduce Sun’s energy reaching the

Earth’s surface, causing Global Cooling not warming, in direct contravention of its own stated

global warming theory. IPCC stated “As a result, there is a radiative imbalance at the TOA in

the clear-sky energy budget (Figure 7.2, lower panel), suggesting that the Earth would warm

substantially if there were no clouds”. In science there must be factual numbers not suggestion.

In contrast, on page 1022, IPCC stated “Scientists have made significant progress over the past

decade and are now more confidant that changes in clouds will amplify, rather than offset,

global warming in the future”. There is no basis for their statement of “more confident” since it

did not specify the magnitude or the direction of their predicted changes.

10-    IPCC is showing unacceptable logical and scientific errors in two diagrams in page 934:

1) The Earth’s surface in “All Sky” receives 160 W/m2 of the Sun’s energy while emitting 398

W/m2 (not adding evaporation and sensible heat), which is more than the stated Sun’s incoming

energy of 160 W/m2 at the Earth’s surface and the 340 W/m2 at TOA.

2) The Earth’s atmosphere absorbs a total of 399 W/m2 (80+160+ 398-239 = 399), which means

that the Earth is dangerously heating with energy more than the incoming sun’s energy.

11-    Both IPCC and NASA fabricated data by changing the measurements to prove the Hoax,

instead of changing their models to agree with the measurements [IPCC (page 935)].

12-    Global Warming would reduce sea level as opposed to increasing it, due to the increase in



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water vapor with increasing the temperature. This extra water vapor will come from water

evaporation from the sea surface reducing its level.

13-    The two distinguished Princeton professors, Richard Lindzen, Prof. of Earth Science, and

William Happer, Prof. of Physics, testified before Congress around April 2022, showing that

there is no scientific basis for climate-related risk caused by fossil fuels and CO2, and there is no

climate emergency. No other scientist dared, or cared, to come forward to dispute their findings.

These findings LEAVE no excuse for any one to claim that the Hoax is not a hoax.

https://www.sec.gov/comments/s7-10-22/s71022-20132171-302668.pdf

14-    Farag tried to intervene in many cases to dispute the Hoax. He filed a motion to intervene

as of right and/or permissive intervention in the United States District Court, Central District Of

California, Case No: 2:23-CV-10345, however, the Court denied his motion on 3/5/2024.

15-    Around November 17, 2022, Farag sent an open letter to the UN Secretary General and

some news media, explaining the science disputing the Hoax and asking him to stop pushing

countries into disasters due to the Hoax that “burning fossil fuel is causing global warming”.

However, he didn’t receive any response or disputes to his findings.

16-    Around February 14, 2023, Farag sent another letter to UNSG and to many officials

including the defendants, and complained to the US Attorney General and to IL State Attorney

General. However, he didn’t get any disputes to his findings, or a responsive reply.

17-    Biden imposed a proxy war against the U.S.A. in Ukraine that cost us about $75 billion

and caused the death of about one million Russians and Ukrainians, and could drag us into a

horrific confrontation with Russia. Upon information and believe, The Biden’s administration

fabricated evidence of Russia’s threats, to justify dragging the U.S.A. into a war against Russia

and sending money to Ukraine to get kickbacks for him, his family, and his cronies, which is



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treason. Further, they pretended to sanction Russia, but declared war against our oil and gas

industries, destroying our energy security and independence, driving their prices to the roof,

benefiting greatly our “assumed” enemy Russia (has huge oil and gas resources), and causing

great harm to our economy, which is treason.

18-     Many officials became complicit and conspired with Biden in his treason (Russia war and

the Hoax). They pushed the Hoax and created destructive laws and regulations that cost trillions

of dollars to benefit themselves and their cronies, while causing great harm to the middle class

and the poor, and causing serious damage to our energy industries. Examples are the “zero

carbon emission”, subsidizing electric cars, solar panels, wind energy, etc. They proved their

destructive intentions and that they are not looking to protect the environment or to pursue

zero carbon emission, they continued their war against the nuclear energy, which is the most

reliable and the real zero carbon emission source of energy. Further, they are penalizing the

nuclear energy and imposing taxes to dismantle our nuclear reactors instead of upgrading them.

19-     U.S. Constitution protects freedom of speech, which protects the Media from penalty for

publishing false information. However, the Supreme Court repeatedly affirmed that penalties are

warranted if this false information caused harm to a third party [United States v. Alvarez, 567 U.

S. 709 (2012)]. Here, the Media Companies conspired with other defendants, lied to the people,

knowingly published false information, and suppressed the truth about the Hoax, causing

increases in prices, social unrest, and mislead the Courts to issue costly wrong judgments.

20-     Before the end of October 2023, Farag sent Cease and Desist Notices to the Media

Companies, provided them with the facts about the Hoax, demanding that they immediately

cease and desist the spread, promotion, support, distribution etc. of the Hoax, or the hiding,

suppressing, distorting, etc. of the facts, in their news, analysis, reporting, discussions, etc.



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However, they continued their wrongdoings and Farag never received any response.

21-    Due to the war on our energy, and promoting and enforcing the Hoax, Farag suffered

financial losses and reduction to his standard of living. The price of one Therm of natural gas

around January 2018 was $0.0485, and around February 2024 was $0.2134, an increase of 440%.

This means that the $200 cost to heat the house for one month will jump to $880! This forced

Farag to set his thermostat at less than 50 ºF, just to avoid the freezing of water pipes, reducing

his standard of living. Farag paid additional $16 for the Hoax in his electric bill of February

2024, not adding the price increase of the electricity itself. The price of gasoline increased from

less than $2 per Gallon to $3 to $5 per Gallon, which resulted in increases in: insurance, car

prices, car maintenance, food, medicine, etc. Farag couldn’t buy two crucial medications

(Diovan and Lipitor), and had to limit driving his car and was almost imprisoned in his home.

                    FARAG HAS STANDING TO BRING THIS ACTION

22-    For the plaintiff to have Article III standing, he must have: 1) suffered some actual or

threatened injury; 2) that injury can fairly be traced to the challenged action of the defendant; and

3) that the injury is likely to be redressed by a favorable decision. As for the issues related to the

treason and “Global Warming” (Hoax), Farag suffered actual losses as stated in ¶17, which

would be eliminated by a judgment against the defendants. As for the issues related to treason

and the violations of our immigration laws, Farag suffered and will suffer more injuries as

explained in ¶4 above that would be eliminated by a judgment against the defendants.

                                      CAUSES OF ACTION

   COUNT I Declaratory Relief That The Claims That “Burning Fossil Fuel Is Causing
                    Global Warming” Has No Scietific Basis And Is A Hoax

23-    The foregoing ¶1 to ¶22 are realleged and incorporated by reference herein as ¶23.



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24-    28 U.S. Code § 2201(a) states “In a case of actual controversy within its jurisdiction,

except - - -, any court of the United States, upon the filing of an appropriate pleading, may

declare the rights and other legal relations of any interested party seeking such declaration,

whether or not further relief is or could be sought. Any such declaration shall have the force and

effect of a final judgment or decree and shall be reviewable as such”.

25-    Farag proved that the claims “that burning fossil fuel could cause global warming” have

no scientific basis and are a Hoax, by showing the scientific fraud used to promote them.

26-    Following the Hoax resulted in devastating damages of billions of dollars for the country,

and huge financial losses to Farag, and the reduction of his standard of living.

27-    The Court should declare that the claims “that burning fossil fuel could cause global

warming” have no scientific basis and are a Hoax, compensate Farag a minimum of one million

dollars for his losses and his efforts to prove that the Hoax is a hoax, and order every official that

spent our taxes on the hoax to pay them back with penalties from their own money.

       COUNT II Injunctive Relief To Stop The Officials From Enforcing The Hoax

28-    The foregoing ¶1 to ¶27 are realleged and incorporated by reference herein as ¶28.

29-    Rule 65, of Federal Rules of Civil Procedure (Injunctions and Restraining Orders) states:
       (a)(2) Consolidating the Hearing with the Trial on the Merits. Before or after beginning
       the hearing on a motion for a preliminary injunction, the court may advance the trial on
       the merits and consolidate it with the hearing. Even when consolidation is not ordered,
       evidence that is received on the motion and that would be admissible at trial becomes
       part of the trial record and need not be repeated at trial. But the court must preserve any
       party's right to a jury trial.
30-    28 U.S. Code § 2202, states:
        “Further necessary or proper relief based on a declaratory judgment or decree may be
       granted, after reasonable notice and hearing, against any adverse party whose rights
       have been determined by such judgment”.
31-    Farag believe that all the defendants enforced the Hoax wasted huge amounts of our

money every second that we don’t have and they shouldn’t spend, while enjoining this waste


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would not negatively affect any project. Hence, the Court should stop this huge waste as soon as

possible, and order the Defendants to pay back with penalties the money they wasted, and

compensate Farag at least one million dollars for his damages and his efforts to fight the Hoax.

COUNT III Tresson Of Biden And His Conspirators For Pushing The U.S.A. Into A War
                        With Russia To Benefit Himself And His Cronies
32-     The foregoing ¶1 to ¶31 are realleged and incorporated by reference herein as ¶32.

33-     18 U.S.C. § 2381 – Treason, states:
        Whoever, owing allegiance to the United States, levies war against them or adheres to
        their enemies, giving them aid and comfort within the United States or elsewhere, is
        guilty of treason and shall suffer death, or shall be imprisoned not less than five years
        and fined under this title but not less than $10,000; and shall be incapable of holding any
        office under the United States.
34-     U.S. Constitution art. II § 4, states:
        The President, Vice President and all civil Officers of the United States, shall be removed
        from Office on Impeachment for, and Conviction of, Treason, Bribery, or other high
        Crimes and Misdemeanors. Neither civil nor criminal immunity is explicitly granted in
        the Constitution or any federal statute. Hence, they DON’T ENJOY IMMUNITY from
        Treason, or other high Crimes and Misdemeanors.
35-     Farag believe that all the Defendants conspired to push Ukraine to war with Russia,

instead of resolving their disputes peacefully, so that they can give its corrupt government aid

and get kickbacks for themselves and their cronies. This war is practically undeclared war (proxy

war) between the U.S. and Russia.

36-     Biden and his conspirators gave Ukraine billions of dollars of aid that the U.S. doesn’t

even have! This aid is threatening to push the U.S. into a horrible confrontation with Russia, in

addition to causing severe harm to our economy, which is treason.

37-     Hence, Biden and his conspirators should pay back with penalties the Ukrainian aid, and

compensate Farag at least one million dollars for his losses and efforts to disclose their treason.

      COUNT IV Tresson Of Biden For Aiding Our Enemy Russia And Destroying Our
                                       Economy By The Hoax



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38-     The foregoing ¶1 to ¶37 are realleged and incorporated by reference herein as ¶38.

39-     Biden and his conspirators lied to the people about the Hoax, promoted it, took actions to

stop the use of fossil fuel, and declared war on it. Which resulted in the soaring of energy prices,

causing financial damage to Farag and the citizens, and reducing the standard of living for them,

while benefiting our assumed enemy Russia by letting them sell their gas and oil at high prices.

40-     The EPA categorized CO2 as a pollutant and a green house gas that needs to be reduced

by reducing the burning of fossil fuel [https://www.epa.gov/climate-change/climate-change-

regulatory-actions-and-initiatives#Findings], which is wrong because CO2 is necessary for life.

41-     Farag submitted a Freedom Of Information Act (FOIA) request to the EPA [Tracking #

EPA-2022-001766, Date 01/05/2022], asking for all the scientific information that supports the

man made global warming. Farag received a response from Ephraim Atkinson, on 1/31/2022,

email: hopkins.daniel@epa.gov, stating that they have nothing scientific to support the Hoax!

42-     The EPA surrendered to the political pressure, ignored the science, and enacted

destructive regulations to promote the Hoax, causing huge damages as shown before.

43-     Hence, Biden and his conspirators should pay back with penalties the money we spent on

the Hoax. And compensate Farag at least one million dollars for his losses and efforts to disclose

their treason and the Hoax.

   COUNT V Tresson Of Biden And Other Officials For Invading the U.S.A. With Our

                                             Enemies

44-     The foregoing ¶1 to ¶43 are realleged and incorporated by reference herein as ¶44.

45-     Biden, Alejandro Mayorkas, Merrick Garland, Kwame Raoul, J.B. Pritzker, Dick Durbin,

Tammy Duckworth, Sean Casten, and other conspirators allowed the invasion of the U.S. by

millions of illegal foreigners under the disguise of asylum seekers or new comers, without



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following the legal procedures in violations of our immigration laws.

46-     When Farag decided to immigrate to the U.S., he had to fill applications, wait more than

10 years for his turn, went through expensive health check, had to prove that he was not involved

in unlawful activities, knows basic English language, and was required not to adopt ideology

contrary to the system of the U.S.

47-     When the state of Texas tried to protect itself and the country by limiting the invasion of

the criminals (illegals are violating the law making them criminals and enemies), Biden and his

conspirators sued Texas to allow the enemies in, which is by itself treason. Also, they gave them

aid and comfort that they denied to the U.S. citizens, which is another treason. Additionally,

they brought about 320,000 enemies directly into our cities by airplanes to avoid exposing those

enemies when they were crossing the borders. This is again another treason.

48-     Needless to mention that those enemies brought to this country human trafficking, deadly

drugs, rape, theft, diseases, killings, etc., and the destruction of the safety of the citizens.

49-     Hence, Biden and his conspirators, should pay back with penalties the cost of the services

those enemies obtained, and the cost of the states to prevent their invasion. And compensate

Farag at least one million dollars for his losses and efforts to disclose their treason.

COUNT VI Against The Media Companies For Lying And Publishing False Information
                           About The Hoax That Caused Serious Harm
50-     The foregoing ¶1 to ¶49 are realleged and incorporated by reference herein as ¶50.

51-     The defendants MSNBC; CNN; CBS; CNBC; NPR; Washington Post; NY Times; and

Facebook (hereinafter the Media), conspired with each other and with the government, lied to

the people, published false information, suppressed the scientific facts, exaggerated the effects of

their lies to scare the people, and ridiculed everyone that tried to tell the truth about the Hoax.

52-     The Media knew the scientific facts proving that the Hoax is a hoax for very long time


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because it is their job, or at least they should have known these facts from the Congress’ hearing

around April 2022. However, they continued promoting the Hoax. Which forced Farag to send

them a cease-and-desist letters before the end of October 2023, stating for them the facts that

proved the Hoax is a hoax, and warning them about the consequences of their wrongdoings.

None of them responded to Farag to dispute his facts, and they didn’t stop promoting the Hoax.

53-     As direct results of the Media’s false information, the people (including some Judges)

were scared and misled to believe that the Hoax is real, and put pressure on the government to

take actions to fight the global warming. Which resulted in devastating actions against fossil fuel

that caused our economy billions of dollars and caused damages to Farag as explained in ¶21.

54-     Hence, the Court should order the Media to publish the fact that they lied, at the first page

if it is a newspaper, or first news cast in all their news segments everyday for at least one year.

And order them to pay back with penalty the cost of the damage to the economy due to the Hoax,

and compensate Farag at least one million dollars for his damages and efforts to fight the Hoax.

        COUNT VII The Defendants Conspired With Each Other To Comitt Fraud

55-     The foregoing ¶1 to ¶54 are realleged and incorporated by reference herein as ¶55.

56-     Farag alleges that the Defendants and other conspirators committed fraud by: (1) Making

untrue statements that burning fossil fuel is causing harmful global warming; (2) Knowing their

falsity (at least after Farag’s letters); (3) Promoting it as an existential threat increasing its

material importance to the people; (4) With the intent to fraud the people; (5) With the planning

to make the people pay high cost for alternative energy, refrain from using affordable and

reliable fossil fuels, and suffer from the excessive increase in the prices of almost everything; (6)

Relying on the ignorance of the people about the Hoax; (7) As most of the people trust the

officials, NASA, UN, IPCC, and the media; (8) With the government having the obligation to



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rely on their statements; and (9) They caused huge damages to the citizens, due to the increase in

the prices of oil and gas, in addition to subsidizing electric cars, solar panels, etc.

57-     Hence, the Court should penalize them jointly and severally for their fraud, and

compensate Farag at least one million dollars for his damages and efforts to fight their fraud.

58-     Due to the urgency and complexity of this matter, Farag had to prepare this pleading very

quickly, which took him more than 21 non-stop hard working days, however, there could be

some deficiencies and errors. Hence, Farag would ask the Court to allow him the opportunity to

amend his complaint when appropriate.

                                      PRAYERS FOR RELIEF

59-     WHEREFORE, Tarek Farag, respectfully requests that this Honorable Court Order the

following:

        1) Declare that the Man-Made-Global-Warming due to burning fossil fuel has no
             scientific basis and is a destructive Hoax;
        2) Invalidate all the administrative orders, laws, regulations, subsidiaries, etc. to combat
             man made global warming;
        3) Enjoin the government from enforcing all the actions to combat global warming;
        4) Hold accountable all the people, agencies, companies, organizations, etc. that
             knowingly ignored the science, manipulated the data, promoted false claims,
             obstructed and hid the truth, benefited from the lies, violated their duties to
             investigate the Hoax’s crimes, prevented or suppressed the scientific discussions, etc;
        5) Refer any criminal activities or negligence for the purpose of prosecutions by an
             outside Special Counsel pursuant to 28 CFR § 600.1;
        6) Order the defendants that supported the Hoax, jointly and severally, to pay back with
             penalties all the billions of dollars wasted on the Hoax;
        7) Order the defendants that supported the Ukrainian war, jointly and severally to pay
             back with penalties all the billions of dollars wasted on it;
        8) Order the defendants that supported the invasion of our country by the enemies,



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           jointly and severally to pay back with penalties all the money wasted on them;
       9) Order the Media defendants to publish in visible way the fact that they lied, at the
           first page if it is a newspaper, or first news cast in all their news segments everyday
           for at least one year, and jointly and severally pay back with penalties all the money
           wasted due to their lies.
       10) Sanction everyone that committed fraud, or conspired with others;
       11) Compensate Farag for his damages and efforts;
       12) Award Farag punitive damages.
       13) Take any additional actions this Honorable Court sees as proper and just.
Respectfully submitted this 4th day of April 2024.



                               Plaintiff: TAREK FARAG, pro se.
                        411 N WARWICK AVE, WESTMONT, IL 60559
                                      Phone: 630 709 3965
                              Email: tarekfaragusa@hotmail.com


                            VERIFICATION BY CERTIFICATION

Under penalties of perjury as provided by law, the undersigned certifies that the statements set

forth in this instrument are true and correct.

Executed on 4/4/2024.

                               Plaintiff: TAREK FARAG, pro se.
                        411 N WARWICK AVE, WESTMONT, IL 60559
                                      Phone: 630 709 3965
                              Email: tarekfaragusa@hotmail.com




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